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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                     (LUFKIN DIVISION)

In re:                                            )
                                                  )    JOINTLY ADMINISTERED
TEXAS PELLETS, INC.,1                             )    Case No. 16-90126
                                                  )
                 Debtors.                         )    Chapter 11
                                                  )

      AGREED MOTION FOR CONTINUANCE OF COMBINED HEARING ON (A)
    ADEQUACY OF DISCLOSURE STATEMENT AND (B) CONFIRMATION OF PLAN
                     [Relates to Docket #1040, 1050, 1051]

         Texas Pellets, Inc. (“TPI”) and German Pellets Texas, LLC (“GPTX”) (collectively, the

“Debtors”), as debtors and debtors in possession in the above-captioned chapter 11 cases (the

“Bankruptcy Cases”), hereby file Agreed Motion for Continuance of Combined Hearing on (A)

Adequacy of Disclosure Statement and (B) Confirmation of Plan (the “Motion”). In further

support hereof, the Debtors respectfully state as follows:

                            I.       SUMMARY / RELIEF REQUESTED

         1.      The Court has entered the February 13, 2019 Order Scheduling Combined Hearing

on (A) Adequacy of Disclosure Statement and (B) Confirmation of Plan [Docket #1040] (“Plan

Scheduling Order”) and the February 21, 2019 Order Approving Bidding Procedures and Auction

and Sale Notice and Granting Related Relief [Docket # 1048] (“Bidding Procedures Order”). All

capitalized terms used herein have the same meaning as set forth in the Plan Scheduling Order

and Bidding Procedures Order.

         2.      Under this Motion and the other motions filed herewith, the Debtors request a


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are Texas Pellets, Inc. (3478) and German Pellets Texas, LLC (9084). The
Debtors’ principal place of business and service address is 164 County Road 1040, Woodville,
Texas 75979.


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three-week extension of the current timeline and deadlines for the (i) bidding and auction process;

(ii) proposed sale of substantially all assets of the Debtors; (iii) liquidating Chapter 11 plan; and

(iv) debtor in possession financing. The current process and timeline along with the proposed

extensions, is summarized below:

                                                           Current                   Extended
                    Event
                                                        Date/Deadline              Date/Deadline
    Solicitation of Plan / Service of         (Solicitation took place on          N/A
    Disclosure Statement                      February 22, 2019)

    Bid Deadline                              Originally March 14, 2019            To be
                                              -- Extended (not yet rescheduled)2   rescheduled

    Auction                                   Originally March 21, 2019            To be
                                              -- Adjourned (not yet rescheduled)   rescheduled

    Deadline for:                             March 25, 2019                       To be
          Objection to Sale                                                       rescheduled
          Objection to adequacy of
           Disclosure Statement
          Plan ballot submission
          Objection to Plan confirmation

    Sale Hearing / Confirmation Hearing       March 27, 2019                       To be
                                                                                   rescheduled

    Maturity Date for DIP Loans               March 29, 2019                       April 19, 2019


          3.       Generally, the Debtors request a three-week extension of the entire schedule

(which has been agreed to by the Bond Trustee and the Committee), with a maturity date

extension of the debtor in possession financing to April 19, 2019. The Debtors request that the

other dates be extended but not rescheduled to specific dates. The Debtors anticipate that they

will be in a position to submit definitive dates for rescheduling during the last week of March or


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 As discussed below, under a notice filed with the Court [Docket #1075], the Bid Deadline and
Auction have already been extended and adjourned by the Debtors pursuant to Paragraph 3 of the
Bidding Procedures Order.


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the first week of April, and at that time, the Debtors will file a further motion to set a specific

schedule.

        4.       In this Motion, the Debtors request entry of an order adjourning the Combined

Hearing on Plan confirmation and approval of the Disclosure Statement, and extending the

associated deadlines and other dates set forth under the Plan Scheduling Order.

                                II.          JURISDICTION AND VENUE

        5.       The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent to the

entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

        6.       Venue of these cases and this Motion is proper in this Court pursuant to 28 U.S.C.

§§ 1408 and 1409.

                                      III.     BACKGROUND FACTS

        7.       On April 30, 2016 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Eastern District of Texas (Lufkin Division) (the “Court”) commencing the Bankruptcy Cases.

        8.       The Debtors continue to operate and maintain their business as debtors and

debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        9.       No trustee or examiner has been appointed in these Bankruptcy Cases. An official

committee of unsecured creditors (the “Committee”) was appointed on May 17, 2016.

        10.      In connection with this Sale Motion, as the Court is aware, the Debtors have been

engaged in a marketing process regarding the sale of their business and assets, including the




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Woodville, Texas wood pellets manufacturing facility, or “Manufacturing Facility,” and the Port

Arthur, Texas storage and port facility, or “Storage Facility” (together, the “Facilities”).

        11.      The Debtors’ marketing and strategic process was interrupted by the 2017 ship

loader fire, silo burn and silo collapse (the “2017 Casualty Events”), and the need to rebuild and

repair (the “Rebuild”) the Storage Facility. The Rebuild is now complete, subject only to limited

“punch list” items. The Storage Facility is currently accepting deliveries of pellets.

              IV.      RELIEF REQUESTED AND AUTHORITIES IN SUPPORT

        12.      After consultation with the Debtors’ investment banker, Potential Bidders, the

Bond Trustee, and the Committee, the Debtors, in their business judgment, have determined that

more time is needed for the Debtors’ marketing process. The Debtors are currently evaluating

and formulating specific rescheduled dates.       This impacts not only the Sale Hearing but also

necessitates a continuance of the Combined Hearing to consider the Plan and Disclosure

Statement.

        13.      The Debtors request that the entire schedule be extended for approximately three

weeks, during which time the Debtors are formulating a specific amended schedule. The Debtors

request that the Court enter orders continuing and extending all dates, but without setting specific

rescheduled dates at this time (except for the maturity date for the debtor in possession financing,

which will be extended to April 19, 2019 at this time).

        14.      The Debtors anticipate that they will be in a position to submit definitive dates for

rescheduling during the last week of March or the first week of April, and at that time, the

Debtors will file a further motion to set a specific schedule to reschedule the Bid Deadline,

Auction, objection deadlines, and Sale Hearing and Combined Hearing on Plan confirmation and

approval of the Disclosure Statement.




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        15.       Specifically as to the Plan Scheduling Order, the Debtors request that the Court

enter an Order: (i) adjourning the Combined Hearing currently set for March 27, 2019 and (ii)

extending and rescheduling the other dates and deadlines under the Plan Scheduling Order to be

reset when a definitive date is set for the Combined Hearing. Such dates and deadlines, to be

extended and rescheduled at a later time, include:

                 Deadline to file the Plan Supplement;

                 Deadline to file the proposed form of confirmation order;

                 Disclosure Statement Objection Deadline;

                 Plan Ballot Deadline; and

                 Plan Objection Deadline


        16.       The Debtors therefore request that confirmation be continued.      The delay in

confirmation will not harm any creditor or interest holder and will allow the Debtors more time to

complete the marketing process, which the Debtors have determined to be in the best interest of

the estates (after consultation with the investment banker, Potential Bidders, the Bond Trustee,

and the Committee)

        17.       This Court has broad discretion to control its docket and to determine when to

grant a continuance in a particular case. Morris v. Slappy, 461 U.S. 1, 11-12, 103 S.Ct. 1610, 75

L.Ed.2d 610 (1983).

        18.       The Debtors do not seek this continuance for purposes of delay, and the requested

continuance lies within this Court’s authority to grant. In addition, the Committee and the Bond

Trustee do not oppose this relief.

        WHEREFORE, PREMISES CONSIDERED, the Debtors pray for entry of an order: (i)

adjourning the Combined Hearing currently set for March 27, 2019; (ii) extending and



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rescheduling the other dates and deadlines under the Plan Scheduling Order to be reset when a

definitive date is set for the Combined Hearing; and (iii) granting the Debtors all other relief to

which they may be entitled at law and equity.



Dated: March 18, 2019                          Respectfully submitted,

                                               /s/ C. Davin Boldissar
                                               C. Davin Boldissar (La. #29094)
                                               (admitted pro hac vice)
                                               Locke Lord LLP
                                               601 Poydras Street, Suite 2660
                                               New Orleans, Louisiana 70130-6036
                                               Telephone: (504) 558-5100
                                               Fax: (504) 681-5211
                                               dboldissar@lockelord.com

                                               -and-

                                               W. Steven Bryant
                                               Texas Bar. No. 24027413
                                               Federal I.D. No. 32913
                                               Locke Lord LLP
                                               600 Congress Avenue, Ste. 2200
                                               Austin, Texas 78701
                                               Telephone: (512) 305-4726
                                               Fax: (512) 305-4800
                                               sbryant@lockelord.com

                                               COUNSEL FOR TEXAS PELLETS, INC. AND
                                               GERMAN PELLETS TEXAS, LLC


                                     CERTIFICATE OF SERVICE

        I hereby caused a true and correct copy of the foregoing Motion to be served upon the
parties listed on the attached Limited Service List via ECF Notification and (for those parties
who do not receive ECF notification) on March 18, 2019 by United States regular mail, postage
prepaid.

                                                             /s/ C. Davin Boldissar
                                                             C. Davin Boldissar




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